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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF   AMERICA,      )               CASE NO. 8:06CR19
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                      ORDER
                                             )
LETICIA BARRIENTOS,                          )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s motion for modification of her

sentence pursuant to Amendment 706 to the sentencing guidelines (Filing No. 172) and

the motion to withdraw (Filing No. 175) filed by defense counsel.

      The Defendant’s offense regarded powder cocaine. Therefore, Amendment 706 has

no bearing on her case. Therefore, the Defendant’s motion for a sentencing reduction is

denied and counsel’s motion top withdraw is granted.

      IT IS ORDERED:

      1.     The Defendant’s motion for modification of her sentence pursuant to

             Amendment 706 to the sentencing guidelines (Filing No. 172) is denied;

      2.     The motion to withdraw filed by Jessica P. Douglas (Filing No. 175) is

             granted; and

      3.     The Clerk shall mail a copy of this Order to the Defendant at her last known

             address.

      DATED this 10th day of March, 2008.

                                                 BY THE COURT:

                                                 S/ Laurie Smith Camp
                                                 United States District Judge
